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                      UNITED STATES DISTRICT COURT
                            District of Minnesota

                           Motion for Admission Pro Hac Vice
                             of U.S. Government Attorney
                                          (filing fee waived)



 Case Number:         No. 0:22-CV-02290-ECT-ECW
 Case Title:          Michael J. Lindell et al. v. United States et al.


        Under LR 83.5(e), an attorney who represents the United States or any of its
officers or agencies and who is not a member of the court’s bar may appear pro hac vice
in this court in one of two ways: (1) by being a member in good standing of the bar of a
federal court of appeals or of a different federal district court; or (2) by associating with
an attorney from the United States Attorney’s Office for the District of Minnesota.

      An attorney who chooses to associate with a local AUSA must, before filing this
form, contact the Civil Chief of the United States Attorney’s Office for the District of
Minnesota at 612-664-5600 to obtain local counsel.

   The U.S. Government Attorney seeking admission pro hac vice must complete
          Section A. That attorney’s supervisor must complete Section B.


SECTION A - Affidavit of U.S. Government Attorney


 Attorney’s Name:              Jonathan E. Jacobson
 Attorney’s License            6317721
 Number:
 Issued by the State of:       Illinois
 Party represented:            United States


 Government agency             U.S. Department of Justice
 employing attorney:
 Address:                      1301 New York Ave. NW, 10 th Fl., Washington, DC 20005
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 Phone Number:               202-934-0886
 E-Mail Address:             Jonathan.jacobson@usdoj.gov


Check and complete either section 1 or section 2 below before signing:

1. Certification of membership in other federal court’s bar
    Ō   I certify that I am not a member of this court’s bar, but I am currently an active
         member in good standing of the bar of the following federal court of appeals or
         other federal district court.


          Federal court:

2. Certification of association with local AUSA
    X    I certify that I am associating with the following attorney from the United
         States Attorney’s Office for the District of Minnesota who will participate in the
         preparation and presentation of the case and who will accept service on behalf
         of the United States of all papers.


         Associating       Ana Voss
         attorney’s name:
______________________________________________________________________________

I further certify that:
    x I understand the United States District Court for the District of Minnesota is an
        electronic court;
    x I will receive service under Fed. R. Civ. P. 5(b) and 77(d) by electronic means;
        and
    x I understand such electronic service will be lieu of service by mail.

                                                                       Digitally signed by JONATHAN
 Date:   9/23/2022                  Signature:       JONATHAN          JACOBSON
                                                                       Date: 2022.09.23 14:43:39
                                                     JACOBSON          -04'00'




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SECTION B - Certification of Attorney’s Supervisor

I, Robert J. Heberle, hereby certify that the attorney identified above is employed as an
attorney by the government agency identified above.



 Date:   9/23/2022                  Signature:                             Digitally signed by ROBERT
                                                       ROBERT HEBERLE      HEBERLE
                                                                           Date: 2022.09.23 15:02:46 -04'00'



                                    Printed Name:      Robert J. Heberle


                                    Title:             Deputy Chief


                                    Government         U.S. Department of Justice
                                    agency:




   ¾ This form should be electronically filed in CM/ECF to the specific case in which the U.S.
     Government Attorney is seeking pro hac vice admission. If the attorney is unable to
     cause this form to be filed in CM/ECF, then this form may be emailed in PDF f ormat to
     ecfhelpdesk@mnd.uscourts.gov for electronic filing in the case.

   ¾ IN ADDITION to filing this motion in the specific case, the proposed ad mittee MUST
     also apply for “Federal Attorney” Admission to the District of Minnesota through his o r
     her individual upgraded PACER ACCOUNT. This last step only needs to be completed
     the first time a U.S. Government Attorney is admitted Pro Hac Vice to the District of
     Minnesota. For detailed step by step instructions, click here.


      For questions, please email the ECF Helpdesk at ecfhelpdesk@mnd.uscourts.gov or
                   contact an Attorney Admissions Clerk at 651-848-1100.




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